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 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     HEIDI A. OJEDA
 3   Assistant Federal Public Defender
     Nevada State Bar No. 12223
 4   411 E. Bonneville, Ste. 250
     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
     (702) 388-6261/Fax
 6   Heidi_Ojeda@fd.org
 7   Attorney for Alexander Wallace Vega
 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:21-cr-00302-JCM-DJA
12                  Plaintiff,                           STIPULATION TO CONTINUE
13                                                       CHANGE OF PLEA HEARING
            v.
                                                         (Fifth Request)
14   ALEXANDER WALLACE VEGA,
15                  Defendant.
16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,
18   United States Attorney, and Joshua Brister, Assistant United States Attorney, counsel for the
19   United States of America, and Rene L. Valladares, Federal Public Defender, and Heid A. Ojeda,
20   Assistant Federal Public Defender, counsel for Alexander Wallace Vega, that the Change of
21   Plea Hearing currently scheduled on April 3, 2023, be vacated and continued to a date and time
22   convenient to the Court, but no sooner than thirty (30) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Mr. Vega was recently discharged from the hospital. After discharge and at the
25   request of Pretrial Services, Mr. Vegas was admitted into the Salvation Army Adult
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 1   Rehabilitation Center this week. For the initial part of this program, Mr. Vega will be on lock-
 2   down and unable to leave the facility.
 3          2.      Defense counsel has confirmed with Mr. Vega’s supervising Pretrial Services
 4   Officers, Joey Trabucco, that Mr. Vega would be unable to leave the program to attend his
 5   currently scheduled change of plea hearing due to the program rules.
 6          3.      The parties are therefore requesting that the change of plea be continued for 30
 7   days to allow Mr. Vega time to complete the initial lock-down portion of this program and
 8   allow him additional time to heal and get the necessary help before he needs to travel to Las
 9   Vegas for his change of plea hearing.
10          This is the fifth request for a continuance of the change of plea hearing.
11          DATED this 28th day of March, 2023.
12
13    RENE L. VALLADARES                              JASON M. FRIERSON
      Federal Public Defender                         United States Attorney
14
15        /s/ Heidi A. Ojeda                              /s/ Joshua Brister
      By_____________________________                 By_____________________________
16    HEIDI A. OJEDA                                  JOSHUA BRISTER
      Assistant Federal Public Defender               Assistant United States Attorney
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 1                             UNITED STATES DISTRICT COURT

 2                                 DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                      Case No. 2:21-cr-00302-JCM-DJA
 4
                  Plaintiff,                        ORDER
 5
            v.
 6
     ALEXANDER WALLACE VEGA,
 7
                  Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the change of plea hearing currently scheduled for

11   Monday, April 3, 2023 at 10:00 a.m., be vacated and continued to May 3, 2023, at 11:00

12   a.m.

13          DATED March 31, 2023.

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                                              UNITED STATES DISTRICT JUDGE
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